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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          :
                                                  :
                                                  :
        v.                                        :   Case No. 21-cr-26 (CRC)
                                                  :
CHRISTOPHER MICHAEL ALBERTS,                      :
                                                  :
         Defendant.                               :


      GOVERNMENT’S MOTION FOR LEAVE TO FILE MOTIONS IN LIMINE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully requests leave to file motions in limine beyond the December

22, 2022 deadline contained in the Court’s September 30, 2022 Pre-Trial Order, ECF No. 71 at ¶

4. Because the Court has granted Defendant’s motion to continue trial, and based on Defendant

Christopher Alberts’s 286-item Exhibit List and recent public statements, good cause exists to

permit the United States to move in limine to exclude evidence and argument that is misleading,

unduly prejudicial, and irrelevant in determining Alberts’s guilt of the nine offenses charged in the

Second Superseding Indictment, and for other purposes related to the trial of this action.

Accordingly, the Government requests the Court permit it to file motions in limine, and to consider

such motions at or before the pre-trial conference.

       Counsel for the United States requested Defendant’s consent for the relief sought in this

motion by email correspondence on February 22, 2023, but counsel for Defendant has not

indicated whether he assents to, or opposes, the relief sought herein.

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Dated:   March 1, 2023                     Respectfully Submitted,

                                           MATTHEW M. GRAVES
                                           United States Attorney
                                           DC Bar No. 481052

                                           /s/ Jordan A. Konig
                                           JORDAN A. KONIG
                                           Supervisory Trial Attorney, Tax Division,
                                           U.S. Department of Justice
                                           Detailed to the U.S. Attorney’s Office
                                           For the District of Columbia
                                           P.O. Box 55, Washington, D.C. 20044
                                           202-305-7917 (v) / 202-514-5238 (f)
                                           Jordan.A.Konig@usdoj.gov

                                           /s/ Samuel S. Dalke
                                           SAMUEL S. DALKE
                                           Assistant U.S. Attorney
                                           Middle District of Pennsylvania
                                           Detailed to the U.S. Attorney’s Office
                                           For the District of Columbia
                                           P.O. Box 55, Washington, D.C. 20044
                                           717-515-4095
                                           Samuel.S.Dalke@usdoj.gov




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